Filed 02/01/16                                                  Case 15-14228                                                                     Doc 61
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 15-14228-B
    Oscar Gutierrez                                                                                            Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: bres                         Page 1 of 1                          Date Rcvd: Feb 01, 2016
                                          Form ID: pdf030                    Total Noticed: 4

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Feb 03, 2016.
    db             +Oscar Gutierrez,   211 Center Street,   Orange Cove, CA 93646-2054
    aty            +Cynthia A. Arroyo,   740 G St #F,   Reedley, CA 93654-2629
    aty            +Glen E. Gates,   2377 W. Shaw Avenue, Suite 101,   Fresno, CA 93711-3438

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr              E-mail/Text: bncnotices@meyer13.com Feb 02 2016 03:59:56     Michael H. Meyer,   PO Box 28950,
                     Fresno, CA 93729-8950
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
    Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
    bankruptcy rules and the Judiciary’s privacy policies.
    Date: Feb 03, 2016                                            Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on February 1, 2016 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 02/01/16         Case Number: 2015-14228      Filed: 1/30/2016 11:42:05 AM
                                           Case 15-14228                                                               Doc 61


                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF CALIFORNIA
                                           CIVIL MINUTE ORDER


        Case Title :        Oscar Gutierrez                                    Case No : 15−14228 − B − 13
                                                                                  Date : 01/28/2016
                                                                                  Time : 01:30

        Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                            $176) (eFilingID: 5697015) (msam)


        Judge :             Rene Lastreto II                        Courtroom Deputy : Jennifer Dauer
        Department :        B                                               Reporter : NOT RECORDED


        APPEARANCES for :
        Movant(s) :
        None
        Respondent(s) :
        None


                                                   CIVIL MINUTE ORDER

        For the reasons set forth in the court's civil minutes, docket number 58,

        IT IS ORDERED that the motion is continued to March 23, 2016, at 1:30 p.m. in Department B, Courtroom
        13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The motion is hereby designated
        as Docket Control Number CAA−1.

        IT IS FURTHER ORDERED that the matter is deemed to be a contested matter. Pursuant to Federal Rules
        of Bankruptcy Procedure 9014(c), the federal rules of discovery apply to contested matters. The parties
        shall immediately commence formal discovery, meet and confer, and set deposition dates if necessary. If
        the matter is not resolved by the continued hearing date the court intends to consolidate the motion in this
        case with the related motion, Docket Control Number CAA−1 (document #15) in case number 15−14225.



                   Jan 30, 2016
Filed 02/01/16        Case Number: 2015-14228      Filed: 1/30/2016 11:42:05 AM
                                          Case 15-14228                                                         Doc 61


        This document does not constitute a certificate of service. The parties listed below will be served a
        separate copy of the attached Civil Minute Order.


        Oscar Gutierrez
        211 Center Street
        Orange Cove CA 93646

        Michael H. Meyer
        PO Box 28950
        Fresno CA 93729−8950

        Cynthia A. Arroyo
        740 G St #F
        Reedley CA 93721

        Glen E. Gates
        2377 W. Shaw Avenue, Suite 101
        Fresno CA 93711
